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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 IN RE:                                                                CASE NO.: 6:21-bk-00002-KSJ
                                                                                       CHAPTER 7
 Me rna D De nton,
          De btor.
 _________________________________/


                     MOTION FOR RELIEF FROM AUTOMATIC STAY
                         (Final Judgment of Foreclosure Obtained)

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will conside r the re lie f re que ste d in
           this pape r without furthe r notice or he aring unle ss a party in inte re st file s a
           re sponse within twe nty one (21) days from the date se t forth on the attache d
           proof of se rvice , plus an additional thre e days for se rvice if any party was se rve d
           by U.S. Mail.

           If you obje ct to the re lie f re que ste d in this pape r, you must file a re sponse with
           the Cle rk of the Court at Ge orge C. Young Fe de ral Courthouse , 400 W.
           Washington Stre e t, Suite 5100, Orlando, FL 32801 and se rve a copy on the
           movant’s attorne y, Attorne y for Se cure d Cre ditor, at Robe rtson, Anschutz &
           Schne id, PL, 6409 Congre ss Ave ., Suite 100, Boca Raton, FL 33487, and any
           othe r appropriate pe rsons within the time allowe d. If you file and se rve a
           re sponse within the time pe rmitte d, the Court will e ithe r sche dule and notify you
           of a he aring, or conside r the re sponse and grant or de ny the re lie f re que ste d
           without a he aring.

           If you do not file a re sponse within the time pe rmitte d, the Court will conside r
           that you do not oppose the re lie f re que ste d in the pape r, will proce e d to conside r
           the pape r without furthe r notice or he aring, and may grant the re lie f re que ste d.

       Secured Creditor, PHH Mortgage Corporation as servicer for U.S. BANK NATIONAL

ASSOCIATION, AS TRUSTEE, FOR THE C-BASS MORTGAGE LOAN ASSET-BACKED

CERTIFICATES, SERIES 2007-CB1, by and through the undersigned counsel, hereby moves this

Court, pursuant to 11 U.S.C. § 362(d), for a modification of the automatic stay provisions for cause,



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and, in support thereof, states the following:

    1. Debtor, Merna D Denton, filed a voluntary petition pursuant to Chapter 7 of the United States

        Bankruptcy Code on January 4, 2021.

    2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. § 1334, 11

        U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

        affecting the jurisdiction of the Bankruptcy Courts generally.

    3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic stay of

        any act against property of the estate under § 362(a) shall continue until this Court orders or the

        stay is otherwise terminated by operation of law.

    4. Secured Creditor filed a foreclosure complaint against the Debtor(s) on March 29, 2018 in the

        Circuit Court for the Eighteenth Judicial Circuit in and for Seminole County, Case Number:

        2018-CA-000817-14H-W, due to the default under the terms of the Note and Mortgage

        securing Secured Creditor’s interest in certain real property legally described as:




        This property is located at the street address of: 342 Chinook Circle, Lake Mary, Florida

        32746.

    5. A Final Judgment of Foreclosure (“Judgment”) was entered against the Debtor(s) on February

        21, 2020 in the amount of $544,533.77. A true and accurate copy of the Judgment attached

        hereto as Exhibit “A.” The Judgment has not been satisfied by the Debtor(s).


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6. The appraised value of the property is $488,344.00. See Exhibit “B” which is attached hereto

    and permissible as a property valuation under Fed. R. Evid. 803(8).

7. Based upon the Debtor(s)’ schedules, the property is surrendered. The Trustee has not

    abandoned the property.

8. Secured Creditor’s security interest in the subject property is being significantly jeopardized by

    Debtor(s)’ failure to comply with the terms of the subject loan documents while Secured

    Creditor is prohibited from pursuing lawful remedies to protect such interest. Secured Creditor

    has no protection against the erosion of its collateral position and no other form of adequate

    protection is provided.

9. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

    provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in this

    cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of adequate

    protection to Secured Creditor for its interest in the above stated collateral. The value of the

    collateral is insufficient in and of itself to provide adequate protection which the Bankruptcy

    Code requires to be provided to the Secured Creditor. Secured Creditor additionally seeks

    relief from the Automatic Stay pursuant to §362(d)(2) of the Bankruptcy Code, as the collateral

    is unnecessary to an effective reorganization of the Debtor’s assets.

11. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will incur

    additional fees, costs and expenses in foreclosing the Mortgage and in preserving and protecting

    the property, all of which additional sums are secured by the lien of the mortgage. Secured


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        Creditor seeks an award of its reasonable attorneys’ fees and costs, or alternatively, leave to

        seek recovery of its reasonable attorneys’ fees and costs in any pending or subsequent

        foreclosure proceeding.

    12. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

        WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying the

automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain possession

of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to seek recovery

of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any such further relief as

this Honorable Court deems just and appropriate.

                                                 Robertson, Anschutz, Schneid, Crane & Partners,
                                                 PLLC
                                                 Attorney for Secured Creditor
                                                 6409 Congress Ave., Suite 100
                                                 Boca Raton, FL 33487
                                                 Telephone: 561-241-6901
                                                 Facsimile: 561-997-6909
                                                 By: /s/ Christopher P. Salamone
                                                 Christopher P. Salamone, Esquire
                                                 Florida Bar Number 75951
                                                 Email: csalamone@raslg.com




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 11, 2021, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Merna D Denton
6340 Windsor Lake Circle
Sanford, FL 32773

Marie F Benjamin
Marie F. Benjamin, Attorney at Law
Post Office Box 901
Sanford, FL 32772

Lori Patton
Law Office of Lori Patton, PA
PO Box 520547
Longwood, FL 32752

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                              Robertson, Anschutz, Schneid, Crane & Partners,
                                              PLLC
                                              Attorney for Secured Creditor
                                              6409 Congress Ave., Suite 100
                                              Boca Raton, FL 33487
                                              Telephone: 561-241-6901
                                              Facsimile: 561-997-6909
                                              By: /s/ Christopher P. Salamone
                                              Christopher P. Salamone, Esquire
                                              Florida Bar Number 75951
                                              Email: csalamone@raslg.com




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                  EXHIBIT “A”
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   PHH Mortgage Services                                                 Tel 877-688-7116
   1 Mortgage Way                                                        Fax 856-917-8003
   Mt. Laurel NJ 08054




                           **IMPORTANT NOTICE**
Upon written request, PHH Mortgage Services will provide the following
information regarding the subject loan:
   *   A copy of the payment history through the date the account was last less
       than 60 days past due.
   *   A copy of the note.
   *   If foreclosure has been commenced or a POC has been filed, copies of any
       assignments of mortgage or deed of trust required to demonstrate the
       right to foreclose on the borrower’s note under applicable state laws.
   *   The name of the investor that holds the loan.
Requests for this information/documentation can be sent to us at the following
address:
                             PHH Mortgage Services
                                Mailstop SBRP
                                  PO Box 5469
                              Mt. Laurel, NJ 08054

This notice is being provided for informational and compliance purposes only. It is
not an attempt to collect a debt.
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                   EXHIBIT “C”
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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                             CASE NO.: 6:21-bk-00002-KSJ
                                                                                    CHAPTER 7
 Merna D Denton,
        Debtor.
 _________________________________/


              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on PHH Mortgage Corporation as
servicer for U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE, FOR THE C-BASS
MORTGAGE LOAN ASSET-BACKED CERTIFICATES, SERIES 2007-CB1’s (“Secured
Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate response has been filed in
accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:


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    1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
    2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
        interest in the following property located at 342 Chinook Circle, Lake Mary, Florida 32746 in
        Seminole County, Florida, and legally described as:




    3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
        Creditor to exercise any and all in rem remedies against the property described above. Secured
        Creditor shall not seek an in personam judgment against Debtor(s).
    4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
        written correspondence in order to discuss the possibility of a forbearance agreement, loan
        modification, refinance agreement or loan workout/loss mitigation agreement.
    5. Attorneys’ fees in the amount of $350.00 and costs in the amount of $188.00 are awarded for
        the prosecution of this Motion for Relief from Stay, but are not recoverable from the Debtor(s)
        or the Debtor(s)’ Bankruptcy estate.
                                                  ###
Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties that do not receive electronic service via CM/ECF and file a proof of service within 3
days of entry of the order.




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